Case 25-40976         Doc 169       Filed 04/07/25 Entered 04/07/25 18:44:12                    Main Document
                                               Pg 1 of 16


                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


 In re:                                                             Chapter 11

 23ANDME HOLDING CO., et al.,1                                      Case No. 25-40976-357

                           Debtors.                                 (Jointly Administered)

                                                                    Hearing Date: April 29, 2025
                                                                    Hearing Time: 1:30 p.m. CDT
                                                                    Hearing Location: Courtroom 5 North
                                                                    Objection Deadline: April 22, 2025 at
                                                                    4:00 p.m. CDT


          DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) APPOINTING AN
             INDEPENDENT CUSTOMER DATA REPRESENTATIVE AND
                       (II) GRANTING RELATED RELIEF

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

 respectfully state as follows in support of this motion:

                                               Relief Requested

          1.      By this motion, the Debtors seek entry of an order (the “Proposed Order”)2

 (a) authorizing the appointment of an independent Customer Data Representative pursuant to the

 CDR Protocol (each as defined below) in these chapter 11 cases and (b) granting related relief.




 1
     The Debtors in each of these cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: 23andMe Holding Co. (0344), 23andMe, Inc. (7371), 23andMe Pharmacy Holdings, Inc. (4690),
     Lemonaid Community Pharmacy, Inc. (7330), Lemonaid Health, Inc. (6739), Lemonaid Pharmacy Holdings
     Inc. (6500), LPharm CS LLC (1125), LPharm INS LLC (9800), LPharm RX LLC (7746), LPRXOne LLC
     (3447), LPRXThree LLC (3852), and LPRXTwo LLC (1595). The Debtors’ service address for purposes of
     these chapter 11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.
 2
     A copy of the Proposed Order will be made available on the website of the Debtors’ claims and noticing agent
     at https://restructuring.ra.kroll.com/23andMe.
Case 25-40976        Doc 169       Filed 04/07/25 Entered 04/07/25 18:44:12             Main Document
                                              Pg 2 of 16


                                          Jurisdiction and Venue

         2.      The United States Bankruptcy Court for the Eastern District of Missouri

 (the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and

 rule 9.01(B) of the Local Rules of the United States District Court for the Eastern District of

 Missouri. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b). The

 Debtors consent to a final order with respect to this motion to the extent that it is later determined

 that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

 herewith consistent with Article III of the United States Constitution.

         3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.      The bases for the relief requested herein are sections 105(a) and 363 of title 11 of

 the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”).

                                                 Background

         5.      23andMe Holding Co. (collectively with its Debtor subsidiaries and non-Debtor

 affiliates,3 the “Company”) is a leading human genetics and telehealth company with a mission

 to help people access, understand, and benefit from the human genome.                  The Company

 pioneered direct access to genetic information as the only company with multiple FDA

 clearances for genetic health reports. Further, through its Lemonaid Health telehealth platform,

 the Company operates as a national online doctor’s office that provides medical care, pharmacy

 fulfillment, and laboratory testing services.

         6.      On March 23, 2025 (the “Petition Date”), the Debtors filed voluntary petitions for

 relief under chapter 11 of the Bankruptcy Code.




 3
     Non-Debtor affiliates exclude any controlling shareholder of 23andMe Holding Co.


                                                       2
Case 25-40976         Doc 169       Filed 04/07/25 Entered 04/07/25 18:44:12                   Main Document
                                               Pg 3 of 16


         7.       The Debtors are operating their business and managing their property as debtors

 in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. These chapter 11

 cases are being jointly administered pursuant to rule 1015(b) of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”). On April 3, 2025, the Office of the United States Trustee

 for the Eastern District of Missouri (the “U.S. Trustee”) appointed an official committee of

 unsecured creditors (the “Committee”). No request for the appointment of a trustee or examiner

 has been made in these chapter 11 cases.

         8.       A detailed description of the Debtors and their business, including the facts and

 circumstances giving rise to the Debtors’ chapter 11 cases, is set forth in the Declaration of

 Matthew Kvarda in Support of Chapter 11 Petitions and First Day Motions (the “First Day

 Declaration”).

         9.       On March 28, 2025, the Court approved the Bidding Procedures for the Sale of

 the Debtors’ Assets (the “Bidding Procedures”).4 Under the Bidding Procedures, any potential

 bidder “must comply in all respects with the Debtors’ consumer privacy practices, which do not

 restrict the transfer of personally identifiable information of the Debtors’ customers in

 connection with a bankruptcy, merger, acquisition, reorganization, or sale of assets, and each Bid

 must contain a statement acknowledging such compliance” to become a Qualified Bidder5 in the

 sales process. See Bidding Procedures, Section G (Bid Requirements) ¶ 16 (Privacy Policies).




 4
     See Order (I) Approving Bidding Procedures for the Sale of the Debtors’ Assets, (II) Scheduling Certain Dates
     and Deadlines with Respect Thereto, (III) Approving the Form and Manner of the Notice Thereof, (IV)
     Approving Procedures Regarding Entry into Stalking Horse Agreement(s), if Any, (V) Establishing Notice and
     Procedures for the Assumption and Assignment of Contracts and Leases, (VI) Approving Procedures for the
     Sale, Transfer, or Abandonment of De Minimis Assets, and (VII) Granting Related Relief [Docket No. 125],
     Exhibit 1 (Bidding Procedures).
 5
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the First Day
     Declaration or the Bidding Procedures.


                                                        3
Case 25-40976         Doc 169        Filed 04/07/25 Entered 04/07/25 18:44:12                     Main Document
                                                Pg 4 of 16


                                    The Customer Data Representative

         10.      Since its founding, the Debtors have prioritized the privacy and security of their

 customers’ personally identifiable information6 and genetic data (collectively, the “Customer

 Data”). This core principle is embedded in the Debtors’ prepetition privacy statement (the

 “Privacy Statement”) and terms of service (the “Terms of Service” and, together with the Privacy

 Statement, the “Policies”) that collectively govern, among other things, how the Debtors store

 and process Customer Data. The Debtors remain committed to being responsible stewards of

 their Customer Data in these cases. Specifically, the Debtors (a) have not modified or otherwise

 sought to amend the terms of their existing Policies, (b) have required that any Potential Bidder

 must agree to comply with the Policies and applicable law with respect to the treatment of

 Customer Data in connection with any Sale, and (c) have not changed the way they store or

 process Customer Data.7

         11.      The Policies expressly permit the sale or transfer of Customer Data in certain

 transactions, including in the event of a bankruptcy filing or asset sale. In relevant part, the

 Privacy Statement provides “[i]f we are involved in a bankruptcy, merger, acquisition,

 reorganization, or sale of assets, your Personal Information may be accessed, sold or transferred

 as part of that transaction and this Privacy Statement will apply to your Personal Information as

 transferred to the new entity.”               See Privacy Statement, 23andMe, (Mar. 14, 2025)

 https://www.23andme.com./legal/privacy/full-version/.

         12.      The Debtors submit that because their prepetition Policies remain in place, and

 because the Bidding Procedures require that Qualified Bidders comply with these Policies, the

 6
     For the avoidance of doubt, “personally identifiable information” as used herein shall include “personal
     information” as defined under applicable privacy laws.
 7
     Any transaction involving the transfer of customer data will also be subject to notice and oversight and approval
     by the Court and customary regulatory approvals.


                                                          4
Case 25-40976      Doc 169      Filed 04/07/25 Entered 04/07/25 18:44:12           Main Document
                                           Pg 5 of 16


 appointment of a consumer privacy ombudsman as contemplated under sections 332 and

 363(b)(1) of the Bankruptcy Code (a “CPO”) is not required in these chapter 11 cases. Section

 363(b)(1) provides that a CPO is only required if “the debtor . . . discloses to an individual a

 policy prohibiting the transfer of personally identifiable information about individuals to persons

 that are not affiliated with the debtor and if such policy is in effect on the date of the

 commencement of the case.” 11 U.S.C. § 363(b)(1). Here, the Policies expressly permit such a

 transfer to unaffiliated third parties in connection with a bankruptcy or asset sale. Additionally,

 any Qualified Bidder must agree to take Customer Data subject to the Debtors’ Policies under

 the Bidding Procedures. Accordingly, the statutory predicate for appointing a CPO is not met.

        13.     Notwithstanding that a CPO is not required in these cases, the Debtors recognize

 that the treatment of Customer Data—including in connection with a potential Sale—is an issue

 of paramount importance to its customers, regulators, and other stakeholders. As a result, the

 Debtors have determined in their business judgment to appoint a disinterested, independent

 representative (a “Customer Data Representative” or “CDR”) to provide, among other things, an

 objective assessment of (a) whether any proposed Sale involving the transfer of Customer Data

 complies with the Policies and applicable data privacy laws and (b) any impacts on the security

 of Customer Data resulting from any such transaction pursuant to the CDR Protocol as defined

 and further set forth below.

        14.     The Debtors have identified multiple potential candidates to act as the Customer

 Data Representative. Given the Committee was only recently appointed, the Debtors intend to

 consult with the Committee and the U.S. Trustee before designating a proposed Customer Data

 Representative. The Debtors will file a notice at least five days before the objection deadline for

 this Motion (the “CDR Notice”) that will disclose (a) the proposed Customer Data



                                                 5
Case 25-40976          Doc 169        Filed 04/07/25 Entered 04/07/25 18:44:12                       Main Document
                                                 Pg 6 of 16


 Representative, including a declaration from the proposed individual setting forth his or her

 qualifications and that such individual is disinterested in these cases and (b) the proposed

 compensation arrangement for such individual (the “CDR Compensation”), which costs shall be

 borne by the Debtors’ estates.

          15.      The Debtors therefore respectfully request entry of an order appointing a

 Customer Data Representative pursuant to the CDR Protocol, as defined and on the terms set

 forth below and in the Proposed Order.8

 A.       CDR Protocol

          16.      The Debtors propose that the Customer Data Representative shall perform the

 following duties in accordance with the terms set forth below (the “CDR Protocol”).

          17.      Review of Policies and Security Controls. The Debtors request that the Customer

 Data Representative conduct a review of the Debtors’ (a) existing Policies, (b) cyber security

 infrastructure, and (c) other relevant information related to the security of the Customer Data.

          18.      Consultation Party in Sale Process. With respect to data privacy and cyber

 security issues relating to the treatment of Customer Data in connection with any potential Sale,

 the Debtors request that the Customer Data Representative be deemed a Consultation Party as

 defined and contemplated under the Bidding Procedures for the purposes set forth in this CDR

 Protocol. In this capacity, the Customer Data Representative shall, among other things, (a)

 identify any potential issues arising from the treatment of Customer Data in any potential Sale

 and make recommendations to the Debtors on how to address any such issues, and (b) evaluate

 the cyber security capabilities and data storage infrastructure of any Successful Bidder and


 8
      The Debtors discussed the relief requested with the U.S. Trustee ahead of the filing. Although those discussions
      did not result in the U.S. Trustee supporting the requested relief, the Debtors intend to continue discussions with
      the U.S. Trustee ahead of the hearing on the motion to resolve any issues.


                                                            6
Case 25-40976      Doc 169      Filed 04/07/25 Entered 04/07/25 18:44:12            Main Document
                                           Pg 7 of 16


 provide the Debtors with a recommendation as to whether such capabilities and infrastructure

 adequately protect Customer Data.

        19.     Final Report. The Customer Data Representative will prepare a report (the “CDR

 Report”) analyzing any proposed transaction providing for the transfer of Customer Data, which

 shall be filed on the Court’s docket at least five days prior to the Sale Objection Deadline

 applicable to any such sale. This CDR Report will address whether the proposed transfer of

 Customer Data to a Successful Bidder (a) complies with the Debtors’ Policies, (b) will result in a

 material change in the security of Customer Data, based upon a comparison of the Debtors’

 cyber security infrastructure with any Successful Bidder’s cyber security infrastructure, and (c) is

 reasonable under the circumstances after balancing, on the one hand, the interests of the Debtors’

 customers with respect to the treatment and management of Customer Data against the Debtors’

 fiduciary obligation to maximize the value of their respective estates, on the other. If the

 proposed Sale is deemed unreasonable by the Customer Data Representative, the Customer Data

 Representative will submit, as part of the CDR Report, recommendations as to potential

 alternatives or modifications that would mitigate potential adverse impacts on the security of

 Customer Data arising from the proposed transfer in connection with any potential Sale. The

 Customer Data Representative will regularly consult with the Debtors solely as to (a) confirm the

 accuracy of, or address any questions related to, the Debtors’ Policies and their cyber security

 capabilities and data storage infrastructure or (b) facilitate discussions between the Customer

 Data Representative and any Successful Bidder to address any factual issues or concerns related

 to such Successful Bidder’s treatment of Customer Data, cyber security capabilities, or data

 storage infrastructure, and will provide to the Debtors and the Committee a draft of the Final




                                                  7
Case 25-40976      Doc 169      Filed 04/07/25 Entered 04/07/25 18:44:12            Main Document
                                           Pg 8 of 16


 Report at least seven days prior to filing the Final Report on the Court’s docket. If necessary, the

 Customer Data Representative will be available to testify at the Sale Hearing.

        20.     Coordination with Key Stakeholders.          The Customer Data Representative,

 together with representatives of the Debtors, shall provide the U.S. Trustee, the Committee, and

 other key stakeholders (as determined by the Debtors in their reasonable discretion), reasonable

 access to the Customer Data Representative throughout these cases and ahead of the filing of the

 CDR Report.

        21.     Other Material Terms:


               TERM                          RESPONSIBILITIES OF THE CUSTOMER DATA
                                                        REPRESENTATIVE


                                     The Customer Data Representative will be “disinterested” as
                                     that term is defined in section 101(14) of the Bankruptcy
                                     Code and remain disinterested throughout the pendency of
        Disinterestedness            these chapter 11 cases. If any new relevant facts or
                                     relationships are discovered subsequent to their appointment,
                                     the Customer Data Representative shall promptly notify the
                                     Debtors of any such developments.


                                     From the Court’s entry of the Proposed Order through the
                                     closing of any Sale, and to the greatest extent allowed by
                                     applicable law, the Customer Data Representative and any
                                     personnel employed by the Customer Data Representative to
                                     assist the Customer Data Representative with its duties and
                                     obligations arising under the Proposed Order will be
                                     exculpated from, and will not have or incur liability for, any
           Exculpation               claim, cause of action, obligation, suit, judgment, damage,
                                     demand, loss, or liability for any claim related to any act or
                                     omission in connection with, relating to, or arising out of,
                                     their services in these chapter 11 cases in accordance with
                                     the CDR Protocol (the “Exculpation Provision”). The
                                     foregoing shall not apply to claims related to any act or
                                     omission that is determined by a final order to have
                                     constituted gross negligence, fraud, or willful misconduct.



                                                  8
Case 25-40976      Doc 169      Filed 04/07/25 Entered 04/07/25 18:44:12             Main Document
                                           Pg 9 of 16



              TERM                           RESPONSIBILITIES OF THE CUSTOMER DATA
                                                        REPRESENTATIVE


                                     Any personally identifiable information obtained by the
                                     Customer Data Representative in its capacity as such during
                                     these chapter 11 cases will be kept confidential and will not
                                     be disclosed by the Customer Data Representative. For the
                                     avoidance of doubt, personally identifiable information will
                                     include, but not be limited to, all Customer Data obtained by
                                     the Customer Data Representative in connection with these
         Confidentiality             chapter 11 cases. Additionally, the Debtors request that all
                                     materials produced by or communications from the Customer
                                     Data Representative, other than the filed CDR Report, shall
                                     (a) be strictly confidential, (b) remain confidential, and (c) be
                                     protected from disclosure to any person or party and/or to
                                     any court or governmental agency, absent the express written
                                     consent of the Debtors (collectively, the “Confidentiality
                                     Provision”).


                                          Basis for Relief

 A.     The Appointment of a Consumer Privacy Ombudsman Is Not Required in These
        Chapter 11 Cases

        22.     Pursuant to Section 101(41A) of the Bankruptcy Code, “personally identifiable

 information” includes (a) an individual’s name, residence address, email address, telephone

 number, social security number, or credit card number; or (b) if identified in connection with one

 or more of the items of information in (a), (i) an individual’s birth date, or (ii) any other

 information that, if disclosed, would result in contacting or identifying such individual physically

 or electronically. The appointment of a Consumer Privacy Ombudsman is required only when a

 debtor seeks to sell or transfer personally identifiable information in contravention of the

 debtor’s privacy policy (a) that the debtor has disclosed to an individual, (b) that prohibits the

 transfer of personally identifiable information, and (c) that is in effect on the date of the

 commencement of the case. See 11 U.S.C. § 363(b)(1)(A).


                                                  9
Case 25-40976         Doc 169   Filed 04/07/25 Entered 04/07/25 18:44:12           Main Document
                                           Pg 10 of 16


        23.     As discussed above, the Policies explicitly permit the transfer of personally

 identifiable information (i.e., the Customer Data) to an unaffiliated third-party as part of a

 broader transaction. As a precondition to using the Debtors’ services or products, the Debtors’

 customers must consent to the Debtors’ Policies, including the provision that allows for the

 transfer of Customer Data in connection with a sale of the Debtors’ assets. The Debtors’ existing

 Policies were implemented prepetition, remain unchanged postpetition, and are prominently

 posted on the Debtors’ website.

        24.     Because any sale or transfer of personally identifiable information comports with

 the Debtors’ Policies regarding the transfer of such information, and because any customer of the

 Debtors must have agreed to the Policies as a condition of transacting with the Debtors, the

 appointment of a Consumer Privacy Ombudsman in accordance with sections 332 or 363(b)(1)

 of the Bankruptcy Code is not required with respect to any Sale of Customer Data or similar

 transaction in these chapter 11 cases. See, e.g., In re Sports Auth. Holdings, Inc., No. 16-10527

 (Bankr. D. Del. July 19, 2016) [Docket No. 2552] (finding that because the contemplated asset

 transfer complied with the Debtors’ privacy policy, the appointment of a consumer privacy

 ombudsman was not required); In re Bed Bath Beyond Inc., No. 23-13359 (Bankr. D. N.J. July

 11, 2023) [Docket No. 1314] (finding that the appointment of a consumer privacy ombudsman

 was not required because the proposed sale complied with the terms of the Debtors’ policy

 regarding the transfer of personally identifiable information as of the Petition Date); In re

 Gordmans Stores, Inc., No. 17-80304 (Bankr. D. Neb. Apr. 10, 2017) [Docket No. 334] (“[t]he

 Transactions do not require the appointment of a consumer privacy ombudsman with respect to

 personally identifiable information . . . because the Transactions are consistent with the Debtors’

 privacy policy.”).



                                                 10
Case 25-40976         Doc 169     Filed 04/07/25 Entered 04/07/25 18:44:12          Main Document
                                             Pg 11 of 16


 B.     The Appointment of a Customer Data Representative Is a Sound Exercise of the
        Debtors’ Business Judgment and Should Be Approved

        25.        Although a consumer privacy ombudsman is not required in these chapter 11

 cases, the Debtors seek the appointment of a neutral, independent, and disinterested Customer

 Data Representative given the importance of protecting Customer Data, the need for any Sale to

 close as soon as possible after the Sale Hearing, and the privacy and security-related concerns

 raised by various stakeholders, regulators, and other parties in interest in these chapter 11 cases.

 The appointment of a Consumer Data Representative early in the Debtors’ sale process in these

 chapter 11 cases will ensure that Customer Data is treated appropriately in connection with any

 potential Sale.

        26.        Section 363(b)(1) of the Bankruptcy Code permits a Debtor to use, sell, or lease

 property of the estate outside of the ordinary course of business after a notice and hearing, unless

 a debtor’s privacy policy prohibits the transfer of personally identifiable information to non-

 debtors and such policy is in effect on the petition date. See 11 U.S.C. § 363(b)(1). In approving

 a transaction conducted pursuant to section 363(b)(1), courts apply the business judgment

 standard. See, e.g., In re Patriot Coal Corp., 492 B.R. 518, 530-31 (Bankr. E.D.Mo. 2013)

 (citing In re Velo Holdings, Inc., 472 B.R. 201, 212 (Bankr. S.D.N.Y. 2012)); In re Borders

 Group, Inc., 453 B.R. 459, 473 (Bankr. S.D.N.Y. 2011). For a debtor to have satisfied the

 business judgment standard, “there must be some articulated business justification for using,

 selling, or leasing the property outside the ordinary course of business.” In re ASARCO LLC,

 441 B.R. 813, 823 (Bankr. S.D.Tex. 2010) (“Approval of § 363(b) transactions requires that the

 bankruptcy court find that the debtor justify the proposed transaction . . . [by] some articulated

 business justification for using, selling, or leasing the property outside the ordinary course of

 business.”) (internal quotations omitted).


                                                  11
Case 25-40976      Doc 169     Filed 04/07/25 Entered 04/07/25 18:44:12           Main Document
                                          Pg 12 of 16


        27.     Here, the appointment of a Customer Data Representative in connection with the

 Debtors’ sale process is an appropriate use of the Debtors’ business judgment. Notwithstanding

 that the Bankruptcy Code does not require the appointment of a CPO, the Debtors have

 determined in their business judgment to appoint a disinterested, independent Customer Data

 Representative to objectively assess (a) whether any proposed sale transaction involving the

 transfer of Customer Data complies with the Policies and applicable data privacy laws, and

 (b) any resulting impact on the Customer Data pursuant to the CDR Protocol. The Debtors

 believe that appointing a Customer Data Representative will encourage customers’ confidence in

 the security of Customer Data, facilitate the closing of any proposed sale transaction on a timely

 basis, and ultimately maximize value for all stakeholders.

        28.     Moreover, section 105(a) of the Bankruptcy Code and the “doctrine of necessity”

 permit the bankruptcy court to exercise its broad grant of equitable powers to authorize actions

 that “are necessary to the continued operation of the Debtor.” See, e.g., In re Wehrenberg, Inc.,

 260 B.R. 468, 469 (Bankr. E.D. Mo. 2001); Bird v. Crown Convenience (In re NWFX, Inc.), 864

 F.2d 588, 590 (8th Cir. 1988) (“The overriding consideration in bankruptcy, however, is that

 equitable principles govern . . .”); In re Payless Cashways, Inc., 268 B.R. 543, 546 (Bankr. W.D.

 Mo. 2001) (explaining that courts have long justified actions under the “doctrine of necessity”

 when those actions were “necessary to keep the debtor in business,” and “was necessary to

 effectuate a successful reorganization . . .”). Thus, Section 105(a) empowers the Court to

 authorize the appointment of a Customer Data Representative when such appointment will

 preserve the going-concern value of the debtor’s estate, as is the case here. See In re CoServ,

 L.L.C., 273 B.R. at 497 (holding that section 105(a) authorizes actions to aid in preservation or

 enhancement of a Debtor’s estate).



                                                12
Case 25-40976       Doc 169     Filed 04/07/25 Entered 04/07/25 18:44:12             Main Document
                                           Pg 13 of 16


        29.     Here, authorizing the Debtors to appoint a Customer Data Representative during

 the pendency of these chapter 11 cases will help preserve the value of the Debtors’ estates. The

 Debtors’ ability to reassure their customers of the privacy and security of their data has always

 been, and remains, a core principle of the Debtors’ business strategy. The Debtors therefore seek

 to reinforce their continued commitment to transparency and their sound stewardship of

 Customer Data through the voluntary appointment of a Customer Data Representative.

        30.     In addition, the Debtors believe that the appointment of a Customer Data

 Representative will increase the likelihood of a Sale closing on an expedited basis.             The

 Customer Data Representative, in its capacity as a Consultation Party, will be able to identify

 and advise the Debtors on potential privacy or security related issues arising from the treatment

 of Customer Data as part of any potential Sale, such that the Debtors will be able to address such

 issues on a real-time basis throughout the sale process or otherwise incorporate the privacy and

 security-related considerations as part of the Debtors’ evaluation of Bids received.           Most

 importantly, the appointment of a Customer Data Representative will help reassure stakeholders

 that any potential Sale adequately addresses the treatment of their Customer Data.

        31.     For the foregoing reasons, the Debtors submit that the circumstances of these

 chapter 11 cases warrant granting the requested relief, and that doing so is in the best interests of

 the Debtors, their estates, their creditors, and their stakeholders, and therefore should be granted.

 Accordingly, the Debtors respectfully request that the Court authorize the Debtors to appoint a

 Customer Data Representative pursuant to sections 363 and 105(a) of the Bankruptcy Code.

                                       Reservation of Rights

        32.     Nothing contained herein or any actions taken pursuant to such relief requested is

 intended to be or should be construed as: (a) an admission as to the amount of, basis for, or



                                                  13
Case 25-40976       Doc 169      Filed 04/07/25 Entered 04/07/25 18:44:12              Main Document
                                            Pg 14 of 16


 validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable law;

 (b) a waiver of the Debtors’ or any other party in interest’s right to dispute any claim on any

 grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission that any

 particular claim is of a type specified or defined in this motion or any order granting the relief

 requested by this motion or a finding that any particular claim is an administrative expense claim

 or other priority claim; (e) a request or authorization to assume, adopt, or reject any agreement,

 contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the

 validity, priority, enforceability, or perfection of any lien on, security interest in, or other

 encumbrance on property of the Debtors’ estates; (g) a waiver or limitation of the Debtors’ or

 any other party in interest’s rights under the Bankruptcy Code or any other applicable law; (h) a

 waiver of the obligation of any party in interest to file a proof of claim; or (i) a concession by the

 Debtors that any liens (contractual, common law, statutory, or otherwise) that may be satisfied

 pursuant to the relief requested in this motion are valid, and the rights of all parties in interest are

 expressly reserved to contest the extent, validity, or perfection of, or seek avoidance of, all such

 liens. If the Court grants the relief sought herein, any payment made pursuant to the Court’s

 order is not intended and should not be construed as an admission as to the validity of any

 particular claim or a waiver of the Debtors’ or any other party in interest’s rights to subsequently

 dispute such claim.

                                                 Notice

        33.     The Debtors will provide notice of this motion to the following parties: (a) the

 U.S. Trustee; (b) counsel to the Committee; (c) the holders of the 30 largest unsecured claims

 against the Debtors (on a consolidated basis); (d) the law firms representing claimants who have

 filed or asserted claims arising out of the Cyber Security Incident as of the Petition Date; (e)



                                                   14
Case 25-40976       Doc 169      Filed 04/07/25 Entered 04/07/25 18:44:12              Main Document
                                            Pg 15 of 16


 counsel to the lender under the Debtors’ proposed postpetition financing facility; (f) the United

 States Attorney’s Office for the Eastern District of Missouri; (g) the Internal Revenue Service;

 (h) the Securities and Exchange Commission; (i) the Federal Trade Commission; (j) the state

 attorneys general in all 50 states; and (k) any party that has requested notice pursuant to

 Bankruptcy Rule 2002 (collectively, the “Notice Parties”). Notice of this motion and any order

 entered hereon will be served in accordance with Local Rule 9013-3(A)(1). The Debtors submit

 that, in light of the nature of the relief requested, no other or further notice need be given.

        34.     A copy of this motion is available on (a) PACER at https://pacer.uscourts.gov/

 and (b) the website maintained by the Debtors’ claims and noticing agent, Kroll Restructuring

 Administration LLC, at https://restructuring.ra.kroll.com/23andMe.



                             [Remainder of page intentionally left blank]




                                                   15
Case 25-40976      Doc 169     Filed 04/07/25 Entered 04/07/25 18:44:12           Main Document
                                          Pg 16 of 16


        WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order

 and grant such other relief as the Court deems appropriate under the circumstances.

 Dated: April 7, 2025                        Respectfully submitted,
 St. Louis, Missouri
                                             Carmody MacDonald P.C.
                                             /s/ Thomas H. Riske
                                             Thomas H. Riske #61838MO
                                             Nathan R. Wallace #74890MO
                                             Jackson J. Gilkey #73716MO
                                             120 S. Central Avenue, Suite 1800
                                             St. Louis, Missouri 63105
                                             Telephone:     (314) 854-8600
                                             Facsimile:     (314) 854-8660
                                             Email:         thr@carmodymacdonald.com
                                                            nrw@carmodymacdonald.com
                                                             jjg@carmodymacdonald.com

                                             - and -

                                             PAUL, WEISS, RIFKIND, WHARTON &
                                             GARRISON LLP
                                             Paul M. Basta (admitted pro hac vice)
                                             Christopher Hopkins (admitted pro hac vice)
                                             Jessica I. Choi (admitted pro hac vice)
                                             Grace C. Hotz (admitted pro hac vice)
                                             1285 Avenue of the Americas
                                             New York, New York 10019
                                             Telephone:      (212) 373-3000
                                             Facsimile:      (212) 757-3990
                                             Email:          pbasta@paulweiss.com
                                                             chopkins@paulweiss.com
                                                             jchoi@paulweiss.com
                                                             ghotz@paulweiss.com


                                             Counsel to the Debtors and Debtors in Possession
